Case 3:15-cV-02443-RDI\/| Document 116 Filed 05/24/18 Page 1 of 10

THE UN|TED STATES D|STR|CT COURT
FOR THE M|DDLE D|STR|CT OF PENNSYLVAN|A

 

 

DONNA DAVIS JAV|TZ,

Plaintiff, :
v. : 3:15-CV-2443
` (JUDGE MAR|AN|)
LUZERNE COUNTY, et a|.,
' F| LED
Defendants. : SCRANTON
MEMORANDUM OPlN|ON MAY 24 2018
|. |NTRoDuchoN PER /DEPUTY C,_ERK

Present|y before the Court is Plaintiff Donna Davis Javitz’s “Motion for
Reconsideration Under Federa| Rule of Civil Procedure 59” (Doc. 113). The Motion asks
this Court to reconsider its l\/lemorandum Opinion and accompanying Order of March 29,
2018, (Docs. 108, 109), which granted Defendants’ l\/lotion for Summary Judgment with
respect to Plaintiffs federal claims and declined to exercise supplemental jurisdiction over
Plaintiffs remaining state law claims. For the reasons that follow, the Court will deny
Plaintiffs l\/lotion.

ll. PRocEDuRAL HlsToRY

Plaintiff initiated this wrongful termination action against Defendants Luzerne County,

Robert Lawton, and David Parsnik on December 21, 2015. (Doc. 1). After this Court

resolved Defendants’ l\/|otion to Dismiss and Plaintiff amended her complaint, the following

counts remained: a 42 U.S.C. § 1983 claim against all Defendants for violation of Plaintiffs

 

 

Case 3:15-cv-02443-RD|\/| Document 116 Filed 05/24/18 Page 2 of 10

Fourteenth Amendment due process rights (Count l), a section 1983 claim against all

 

Defendants for retaliation in violation of Plaintiffs First Amendment rights (Count ll), a state
law claim against Defendant Luzerne County for breach of legislative enactments (Count
lll), and a state law claim against all Defendants for violation of the Pennsylvania
Whistleblower Law, 43 P.S. § 1423(a), (Count lV). (Doc. 58). ln short, Plaintiff claimed that
she was terminated from her position as Director of Human Resources for Luzerne County
without cause and in retaliation for a report she made to the District Attorney about
suspected criminal activity of another County employee.

After the close of discovery, Defendants filed a l\/lotion for Summary Judgment1
(Doc. 66). The Court issued a ruling on the l\/lotion on March 29, 2018. (Docs. 108, 109).
Addressing Plaintiffs Fourteenth Amendment claim, the Court first found that under the
terms of the Luzerne County Home Rule Charter and Personnel Code, career service
employees could only be terminated for just cause while exempt service employees were
employed at-will and could be fired without cause. (Doc. 108 at 7-10). The Court then
determined that the language of those documents was circular and that the Director of
Human Resources was neither categorically a career service employee nor an exempt
service employee. (/d. at 10-12). Turning to the offer of employment that Plaintiff signed
when she was hired by the County, the Court held that it was a fully integrated contract that

unambiguously classified Plaintiff as an at-will, exempt service employee. (/d. at 12-16).

 

1 Plaintiff also filed a Motion for Summary Judgment, (Doc. 62), which the Court denied. Plaintiff
does not move for reconsideration of the Court’s ruling as it pertains to her summary judgment motion.

2

 

Case 3:15-cv-02443-RD|\/| Document 116 Filed 05/24/18 Page 3 of 10

Thus, because Plaintiff was an at-will employee who had no property interest in her

continued employment, the Court ruled that her Fourteenth Amendment claim failed as a

matter of law. (ld. at 16-17).

Turning next to Plaintiffs First Amendment retaliation claim, the Court summarized

the undisputed facts as follows:

 

under the County Ethics Code, Plaintiff was “encouraged to disclose any
information which . . . she believe[d] evidences a violation of any law, rule or
regulation.” When Plaintiff first became concerned that another County
employee had recorded her in violation of Pennsylvania law, she reported it to
her supervisor, Defendant Parsnik, and the County Solicitor, David Pedri.
Defendant Parsnik and Solicitor Pedri agreed that it appeared that Plaintiff
was recorded without her consent Plaintiff recommended taking the
information to another County employee, the District Attorney, and Defendant
Parsnik agreed. Plaintiff then emailed someone at the District Attorney’s
Office to set up a meeting and notified Defendant Parsnik of the meeting
Plaintiff then went with Defendant Parsnik to discuss the matter with District
Attorney Salavantis and, in the meeting, Defendant Parsnik did all or most of
the talking.

(/d. at 21-22) (alterations in original) (citations omitted). Based on the undisputed facts that
“Plaintiff became aware of the information through her employment, was encouraged to
report the information by the policies of her employer, and reported the information only to
other County employees,” the Court held that Plaintiff was not acting as a citizen when she
made the report to the DistrictAttorney. (/d. at 22). Further, the Court ruled that Plaintiffs
subsequent inquiries into the status of the District Attorney’s investigation were not made as

a citizen and were not matters of public concern. (/d. at 23-26). Thus, because the

 

 

Case 3:15-cV-02443-RDl\/l Document 116 Filed 05/24/18 Page 4 of 10

undisputed facts showed that Plaintiff did not speak as a citizen on a matter of public
concern, the Court held that her retaliation claim failed as a matter of law. (ld. at 26).

Finally, as all the federal causes of action were dismissed, the Court declined to
retain jurisdiction over Plaintiffs remaining state law claims. (ld. at 27-28).

|l|. STANDARD oF REviEw

A motion to alter or amend judgment under Federal Rule of Civi| Procedure 59(e) is
akin to a motion for reconsideration.2 See McDowe/l Oi/ Serv., /nc., v. interstate Fire 8 Cas.
Co., 817 F. Supp. 538, 541 (l\/l.D. Pa. 1993). “The purpose of a motion for reconsideration
is to correct manifest errors of law or fact or to present newly discovered evidence." Harsco
Corp. v. Z/otnicki, 779 F.2d 906, 909 (3d Cir. 1985). Specifically, the motion is generally
permitted only (1) if there is an intervening change in the controlling law; (2) if new evidence
becomes available that was not previously available at the time the Court issued its
decision; or (3) to correct clear errors of law or fact or prevent manifest injustice. Max’s
Seafood Cafe ex re/. Lou-Ann, lnc. v. Quinteros, 176 F.3d 669, 677 (3d Cir. 1999).
l\/loreover, “motions for reconsideration should not be used to put forward arguments which
the movant . . . could have made but neglected to make before judgment.” United States v.
Jasin, 292 F. Supp. 2d 670, 677 (E.D. Pa. 2003) (internal quotation marks and alterations

omitted) (quoting Reich v. Compton, 834 F. Supp. 2d 753, 755 (E.D. Pa. 1993) rev’d in part

 

2 One important distinction, however, is that a party has twenty-eight days after the entry of
judgment to file a motion to alter or amend judgment see FED. R. Civ. P. 59(e), but only fourteen days after
entry of an order to file a motion for reconsideration see Local Rule 7.10.

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Case 3:15-cV-02443-RDl\/l Document 116 Filed 05/24/18 Page 5 of 10

and aff’d in part on other grounds, 57 F.3d 270 (3d Cir. 1995)). Nor should they “be used as
a means to reargue matters already argued and disposed of or as an attempt to relitigate a
point of disagreement between the Court and the litigant.” Donegan v. Livingston, 877 F.
Supp. 2d 212, 226 (l\/l.D. Pa. 2012) (quoting Ogden v. Keystone Residence, 226 F. Supp.
2d 588, 606 (l\/l.D. Pa. 2002)).
|V. ANALYsls

Plaintiff Hrst argues that this Court committed a clear error of fact when it ruled that
the Home Rule Charter and Personnel Code do not establish that Plaintiff was a career
service employee. (Doc. 114 at 3-6). Plaintiff agrees with the Court that “the language
defining career and exempt service positions between the Charter and the Code was
circular.” (ld. at 3). Nevertheless, Plaintiff argues that the Court erred by failing to look at
the provisions under which Plaintiff was hired. That is, Plaintiff argues that those hired in
the exempt service are “appointed” pursuant to section 4.08 of the Home Rule Charter.
Plaintiff contends that the record is undisputed that she was not “appointed.” Plaintiff further
argues that there was evidence that she was hired pursuant to section 7.05 of the Home
Rule Charter which deals with filling vacancies in the career service.

Plaintiffs argument misconstrues both the law and the Court’s summary judgment
0pinion. As stated in the Court’s 0pinion, in Pennsylvania, in the absence of a contract or
legislation to the contrary, an employee is employed at-will and can be terminated without

cause. See Stumpp v. Stroudsburg Mun. Auth., 658 A.2d 333, 335 (Pa. 1995); E/more v.

 

 

Case 3:15-cV-02443-RDl\/l Document 116 Filed 05/24/18 Page 6 of 10

C/eary, 399 F.3d 279, 283 (3d Cir. 2005). Here, as Plaintiff concedes, the definition of
career service and exempt service are circular between the Charter and Code with respect
to Plaintift”s position. Plaintiff has pointed to no other legislative enactment that categorizes
the director of human resources into the career service or the exempt service. Thus, the
director of human resources is legislatively neither a career service employee nor an
exempt service employee. There is, therefore, no legislative enactment that, on its face,
overcomes the presumption of at-wi|l employment with respect to the director of human
resources position. Consequently, the County was free to offer Plaintiff employment on an
at-will basis.

As a result of the above, whether or not Plaintiff was hired pursuant to the career
service provisions is irrelevant for two reasons. First, the hiring process that the County
used, in and of itself, does not confer any status on prospective employees. That is, until
the time of hire, prospective employees are not in the career service or the exempt service
because they are not yet employees As this process does not confer any employment
status on prospective employees, an employee does not gain his or her status until the time
of hire. While it is possible that the method of recruitment may be relevant to determining
employment status in a case where it is unclear whether the employee was hired into the
career service or the exempt service, it is irrelevant in cases such as this where the

employment contract unambiguously places the employee into the exempt service.

Case 3:15-cV-02443-RDl\/l Document 116 Filed 05/24/18 Page 7 of 10

Second, because Plaintiff signed a fully integrated and unambiguous contract at the
time of hire, evidence of the process used to recruit her cannot be used to vary the terms of
the contract As discussed in the Court’s 0pinion, when a contract “represents a final and
complete expression of the parties’ agreement,” it is considered integrated Lenzi v.
Hahnemann Univ., 664 A.2d 1375, 1379 (Pa. Super. Ct. 1995). “Once a writing is
determined to be the parties’ entire contract, the parol evidence rule applies and evidence of
any previous oral or written negotiations or agreements involving the same subject matter
as the contract is almost always inadmissible to explain or vary the terms of the contract.”
Yocca v. Pittsburgh Stee/ers Sports, /nc., 854 A.2d 425, 436-37 (Pa. 2004). Here, because
Plaintiff signed a fully integrated and unambiguous contract, the parol evidence rule bars
Plaintiff from using her pre-formation interactions with County employees to vary the terms
of her contract with the County.

Next, Plaintiff argues that the Court committed a clear error of law and fact with
respect to its interpretation of the employment contract. (Doc. 114 at 6-11). Plaintiffs
argument in this respect largely takes issue with the Court’s holding that the word “exempt”
in the employment contract refers to the exempt service. Plaintiff argues that “exempt”
refers to exempt status under the Fair Labor Standards Act or, at the very least, is
ambiguous.

The Court notes that Plaintiff already made this argument in her opposition to

summary judgment, and the Court has already addressed it. (Doc. 94 at 14-15; Doc. 108 at

 

Case 3:15-cV-02443-RDl\/l Document 116 Filed 05/24/18 Page 8 of 10

14). As such, this argument is improper on a Motion to Amend or Alter Judgment as it is
nothing more than an attempt “to reargue matters already argued and disposed of or as an
attempt to relitigate a point of disagreement between the Court and the litigant.” Donegan,
877 F. Supp. 2d at 226. Further, the argument is without merit for at least two reasons.
First, all of Plaintiffs arguments as to why “exempt,” as used in the employment contract, is
ambiguous ignore a basis tenet of contract interpretation that “[t]he meaning of a particular
phrase is not properly determined by considering the phrase in isolation but by reading it in
harmony with the rest of the contract.” Contrans, lnc. v. Ryder Truck Renta/, lnc., 836 F.2d
163, 169 (3d Cir. 1987). While Plaintiff urges this Court to read “exempt” to mean exempt
status under the Fair Labor Standards Act, the contract makes no reference to the Fair
Labor Standards Act. However, the contract does indicate that Plaintiffs position “is ‘At Will’
consistent with applicable PA State l_aw.” (Doc. 69-4). Accordingly, reading “exempt” as
referring to exempt service is consistent with the rest of the contract.

Second, even if this Court were to assume Plaintiff is correct, and that “exempt”
refers to the Fair Labor Standards Act, it would not change the outcome of the case. Even if
“exempt” does not refer to exempt service employee, the letter clearly identifies Plaintiff as
an at-will employee. Thus, even accepting Plaintiff’s interpretation of “exempt” as used in

the contract, the document still unambiguously establishes that Plaintiff was hired on an at-

 

Case 3:15-cV-02443-RDl\/l Document 116 Filed 05/24/18 Page 9 of 10

will employment basis and could be fired without just cause.3 Because she was hired as an
at-will employee, she was necessarily an exempt service employee.

Lastly, Plaintiff argues that the Court made a clear error of law when it dismissed her
First Amendment retaliation claim. (Doc. 114 at 11-12). Specifically, Plaintiff argues that
the Court failed to consider section 105.01 of the Ethics Code which required her to report
misconduct to the “ACE Commission.” According to Plaintiff, the fact that she made her
report to the District Attorney, and not the ACE Commission, shows that she was acting as
a citizen and not as an employee

lnitially, the Court notes that the portion of the Ethics Code that Plaintiff now cites is
not in the record. lndeed, Plaintiff’s brief provides two citations to the record. Both of the
documents that Plaintiff cites, however, contain Robert Lawton’s deposition, not section
105.01 Ethic Code. (Docs. 93-8, 69-9). Because Plaintiff failed to put section 105.01 of the
Ethics Code into the record and has not shown that it was unavailable to her at the time of
summary judgment, the Court considers this argument waived. See Jasin, 292 F. Supp. 2d
at 677. l\/loreover, even if the Court were to now consider section 105.01 of the Ethics
Code, it would not affect the Court’s ruling. Assuming the veracity of Plaintiffs description
of section 105.01, it states that employees “have the right to lodge a formal complaint with

the ACE Commission.” (Doc. 114 at 12) (emphasis added). lt does not mandate that the

 

3 Plaintiff argues that the use of the term “At Will" is not dispositive because the County cannot
contract around the dictates of the Charter and the Code. (Doc. 114 at 10-11). As already discussed,
neither the Charter nor the Code mandates that Plaintiff’s position was a career service position, and thus
an offer of at-will employment did not violate either enactment

9

 

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Case 3:15-cV-02443-RDl\/l Document 116 Filed 05/24/18 Page 10 of 10

ACE Commission is the only avenue for allegations of wrongdoing lt does not discourage
employees from making reports to other County employees l\/lost importantly, it does not
change the undisputed facts. Plaintiff still became aware of the alleged wrongdoing through
her employment, was still encouraged to report the information by the policies other

employer, and still reported the information only to other County employees. See Brad/ey v.
W. Chester Univ. of Pa. State Sys. of Higher Educ., 880 F.3d 643, 652-53 (3d Cir. 2018).

The mode and manner of Plaintift“s speech was still only available to her by virtue of her
employment. See De Ritis v. McGarrig/e, 861 F.3d 444, 454 (3d Cir. 2017). Thus, even if
Plaintiffs argument concerning section 105.01 of the Ethics Code was not waived, it would
not merit altering the judgment in favor of Defendants.4

V. CoNcLusioN

l For the foregoing reasons, the Court will deny Plaintiffs “l\/lotion for Reconsideration

Under Federal Rule of Civil Procedure 59” (Doc. 113 . A separate Order follows.

 

 

/t?obert IIMariani
United States District Judge

 

4 Plaintiff also points to evidence in the record that she pursued the alleged wrongdoing even after
she was terminated She argues that this evidence shows that she was acting as a citizen when she made
the report to the District Attorney. (Doc. 114 at 12-13). Plaintiff, however, fails to cite a single case where a
court considered post-termination activity to determine whether a former public employee’s pre-termination
speech was made in the capacity of a citizen or an employee. Nevertheless, even assuming this
information is relevantl the Court is unconvinced that Plaintiff’s post-termination pursuit of the investigation
undercuts the Court’s ruling in light of the undisputed facts discussed above. An individual’s personal
interest in work activity does not convert the work activity into a personal activity.

10

